
9 N.Y.2d 946 (1961)
In the Matter of the Arbitration between International Association of Machinists, AFL-CIO, Lodge 2116, Respondent, and Buffalo Eclipse Corporation, Buffalo Bolt Company Division, Appellant.
Court of Appeals of the State of New York.
Argued April 20, 1961.
Decided May 18, 1961.
Francis V. Cole, Robert M. Hitchcock and John F. Donovan for appellant.
Richard Lipsitz and Eugene W. Salisbury for respondents.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, BURKE and FOSTER. Judge VAN VOORHIS dissents and votes to reverse and to reinstate the order of Special Term.
Order affirmed, with costs; no opinion.
